         Case 1:17-mc-02429-APM Document 10 Filed 11/22/17 Page 1 of 2



                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

_________________________________________
                                          )
B UZZFEED, INC., AND B EN SM ITH,         )
                                          )
      Plaintiffs,                         )
                                          )
              v.                          )                 Case No. 1:17-mc-02429 (APM)
                                          )
DEPARTMENT OF JUSTICE et al.,             )
                                          )
      Defendants.                         )
_________________________________________ )


                                     NOTICE OF DISCLOSURE

       In this matter, Petitioners Buzzfeed, Inc., and Ben Smith seek to compel disclosure of

records from various government agencies concerning the so-called “Trump Dossier” (“Dossier”).

See Petitioners’ Mot. to Compel, ECF No. 1. In light of the subject matter of this litigation, I am

compelled to make the following disclosure for the parties’ consideration.

       As the parties are aware, a strategic intelligence firm, Fusion GPS, was hired to conduct

research on then-candidate Donald Trump’s qualifications for public office and his ties to Russia.

See Fusion GPS’s Mem. of Points & Authorities, In re Third Party Subpoena to Fusion GPS, No.

17-mc-2171 (D.D.C.), ECF No. 1-2, at 1. That engagement resulted in the Dossier. Id. My former

law firm, Zuckerman Spaeder LLP, represents Fusion GPS in matters relating to the Dossier. See

id. at 17. Additionally, my wife presently is a partner at Zuckerman Spaeder.

       I left Zuckerman Spaeder upon taking the bench in January 2015, and I have no reason to

believe that the firm represented Fusion GPS in connection with any matter, including the Dossier,

during my time there. Indeed, according to a recent filing by Fusion GPS, the Dossier was prepared
         Case 1:17-mc-02429-APM Document 10 Filed 11/22/17 Page 2 of 2



in 2016, at least one year after I departed the firm. See id. at 1. My wife does not work on the

Fusion GPS matter, and I possess no non-public information about Fusion GPS or the Dossier.

       Finally, I note that I personally know one of Plaintiffs’ counsel of record, Katherine Bolger

of Davis Wright Tremaine, LLP. Ms. Bolger and I worked jointly on a matter when I was in

practice. That matter did not concern Buzzfeed or Mr. Smith.

       In light of the foregoing, I shall refrain from issuing any further orders or taking any

additional action in this matter until the parties have had the opportunity to consider this disclosure

under 28 U.S.C. § 455. If either party believes my recusal is warranted under that statute, the party

should so notify me no later than November 29, 2017. To be clear, the party need not file a motion

for recusal by that date; it need only indicate its view that Section 455 requires my recusal in this

matter. If neither party so indicates by November 29, 2017, I will treat the parties’ silence as a

waiver under 28 U.S.C. § 455(e).




Dated: November 22, 2017                                       Amit P. Mehta
                                                               United States District Judge




                                                  2
